Case 1:13-cv-01674-RGA Document 375 Filed 12/15/15 Page 1 of 2 PageID #: 12136




                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF DELAWARE


RECKITT BENCKISER
PHARMACEUTICALS INC., et al.,

                       Plaintiffs,

               v.                                     Civil Action No. 13-1674-RGA
                                                             Consolidated
WATSON LABORATORIES INC., et al.,

                       Defendants.


                                     MEMORANDUM ORDER


       Defendants want to show that the suboxone film has not achieved commercial success.

Plaintiffs are not claiming commercial success, but are asserting other secondary factors of non-

obviousness. "The absence of objective evidence is a neutral factor." Harmon, et al., Patents and

the Federal Circuit, 11th ed., p. 250. I believe that marketplace failure could, under the right

circumstances, be a "negative factor." It could rebut (in a roundabout way) "long-felt need."

Based on the sketchy discussion at the pretrial conference, I am doubtful that Defendants can

show marketplace failure, and, indeed, I am not sure that they even have a good shot at making

commercial results a neutral factor. Defendants have to decide how to allocate their time. Thus,

if Defendants believe the proffered Lawton evidence is a good use of their time, I will allow it.

       It is true that Plaintiffs unilaterally withdrew their commercial success expert, and
Case 1:13-cv-01674-RGA Document 375 Filed 12/15/15 Page 2 of 2 PageID #: 12137




Defendants' expert was to respond to that now foregone evidence, but I do not see Plaintiffs

being unfairly prejudiced by allowing Defendants to put on their evidence.
                                   /
       IT IS SO ORDERED this     11_ day of December 2015.


                                            United States D' strict Judge
